
986 So.2d 658 (2008)
Jimmie Lee HAMILTON, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D07-6318.
District Court of Appeal of Florida, First District.
July 15, 2008.
Jimmie Lee Hamilton, pro se, Petitioner.
Bill McCollum, Attorney General, and C. Bowen Robinson, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. Petitioner shall be allowed a belated appeal from the judgment and sentence rendered on March 30, 2007, in Escambia County Circuit Court case number 07-180CFA. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(5)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
KAHN, PADOVANO, and HAWKES, JJ., concur.
